                                  Case 24-10692-CTG                 Doc 1        Filed 04/02/24           Page 1 of 20


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                View Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          FKA CF Finance Acquisition Corp. II
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  6280 America Center Drive, Suite 200
                                  San Jose, CA 95002
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Santa Clara                                                   Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
                                   Case 24-10692-CTG                     Doc 1         Filed 04/02/24             Page 2 of 20
Debtor    View Inc.                                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
     the first sub-box. A debtor as
                                        Chapter 11. Check all that apply:
     defined in § 1182(1) who                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                       Case 24-10692-CTG                      Doc 1      Filed 04/02/24             Page 3 of 20
Debtor    View Inc.                                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      See Schedule A                                               Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                            Case 24-10692-CTG               Doc 1       Filed 04/02/24             Page 4 of 20
Debtor   View Inc.                                                                   Case number (if known)
         Name


16. Estimated liabilities    $0 - $50,000                             $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                                 Case 24-10692-CTG                    Doc 1         Filed 04/02/24            Page 5 of 20
Debtor    View Inc.                                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 2, 2024
                                                  MM / DD / YYYY


                             X /s/ William T. Krause                                                      William T. Krause
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Legal Officer




18. Signature of attorney    X /s/ Patrick J. Reilley                                                      Date April 2, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Patrick J. Reilley
                                 Printed name

                                 Cole Schotz P.C.
                                 Firm name

                                 500 Delaware Avenue
                                 Suite 1410
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 652-3131                Email address      preilley@coleschotz.com

                                 4451 DE
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                               Case 24-10692-CTG              Doc 1      Filed 04/02/24         Page 6 of 20


Official Form 201A (12/15)

                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF DELAWARE


                     In re:                                                Chapter 11

                     VIEW, INC., et al.,                                   Case No. 24-[        ]( )

                                                Debtors.                   (Joint Administration Requested)




                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11


                   1.      If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act
           of 1934, the SEC file number is 001-39470.

                   2.     The following financial data is the latest available information and refers to the debtor's
           condition on September 30, 2023.
                           a. Total assets                                                               $291,438,000

                           b. Total debts (including debts listed in 2.c., below)                        $359,376,000

                           c. Debt securities held by more than 500 holders                              Not applicable

                           d. Number of shares of preferred stock                                        01

                           e. Number of shares common stock                                              4,053,580

                      Comments, if any: Total assets, debts and shares of common stock are listed as set forth in the Debtors’
           unaudited consolidated financial statements for the quarterly period ended September 30, 2023, as set forth in
           the Debtor’s Form 10-Q filed on November 9, 2023. The Debtor’s Form 10-Q lists the consolidated total assets
           and total liabilities of the Debtor and its subsidiaries, with all intercompany transactions eliminated in
           consolidation.

                    3.    Brief description of debtor’s business: View, Inc. and its debtor and non-debtor affiliates design,
           manufacture, and provides electrochromic or smart glass panels to which they add a 1 micrometer (~1/100th the
           thickness of human hair) proprietary electrochromic coating. These smart glass panels, in combination with
           View’s proprietary network infrastructure, software and algorithms, intelligently adjust in response to the sun
           by tinting from clear to dark states, and vice versa, to minimize heat and glare without ever blocking the view.

                   4.     List the names of any person who directly or indirectly owns, controls, or holds, with power to
           vote, 5% or more of the voting securities of the debtor: SVF Excalibur (Cayman) Limited, CF Finance Holdings
           II, LLC, Anson Funds Management LP, USAA Real Estate, Rao Mulpuri, and Taconic Capital Advisors L.P.




           1
               1,000,000 preferred shares are authorized, but none are issued or outstanding.

Official Form 201A                      Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy
under Chapter 11
46055529
               Case 24-10692-CTG          Doc 1    Filed 04/02/24      Page 7 of 20




                                          SCHEDULE A

                                  SCHEDULE OF DEBTORS

       On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code. Contemporaneously with the filing of these petitions, these entities filed a motion
requesting that their respective chapter 11 cases be jointly administered for procedural purposes
only.


                                                                         Federal Employer
                             Debtors
                                                                       Identification Number

 1.     View, Inc.                                                  XX-XXXXXXX

 2.     View Operating Corporation                                  XX-XXXXXXX

 3.     Iotium, Inc.                                                XX-XXXXXXX
               Case 24-10692-CTG          Doc 1     Filed 04/02/24     Page 8 of 20




                    RESOLUTIONS OF THE BOARD OF DIRECTORS

Commencement and Prosecution of Chapter 11 Cases

        WHEREAS, the Board of Directors (the “Board”) of View, Inc., a Delaware corporation
(the “Company”) has reviewed and considered the financial and operational condition of the
Company and the Company’s business on the date hereof, including the historical performance
of the Company, the assets of the Company, the current and long-term liabilities of the
Company, the market for the Company’s assets, and credit market conditions; and

        WHEREAS, the Board previously resolved to explore strategic alternatives for the
Company and, in particular, approved the appointment of SOLIC Capital Advisors, LLC and
SOLIC Capital, LLC (collectively, “SOLIC”) to assist the Company in addressing its debt and
liquidity positions and to consider all strategic alternatives including restructuring or refinancing
the Company’s debt, seeking additional debt or equity capital, reducing or delaying the
Company’s business activities and strategic initiatives, or selling assets, other strategic
transactions and/or other measures (any such transaction, a “Potential Transaction”); and

        WHEREAS, the Board has surveyed potential restructuring options for the Company,
including any Potential Transactions, and has considered presentations by management as well
as financial and legal advisors to the Company (such advisors in such applicable capacities,
collectively, the “Advisors”) regarding the assets, liabilities and liquidity situation of the
Company, the strategic alternatives available to the Company and the impact of the foregoing on
the Company’s business, prospects and enterprise value; and

        WHEREAS, the Board has reviewed, had the opportunity to consult with, and ask
questions of, the management and Advisors, and fully considered each of the strategic
alternatives available to the Company, including the relative risks and benefits of pursuing a
bankruptcy proceeding under the provisions of chapter 11 of Title 11 of the United States Code,
11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”).

        NOW, THEREFORE, BE IT RESOLVED, that, in the judgment of the Board, it is
desirable and in the best interests of the Company, its creditors, stockholders, and other
interested parties, that a voluntary petition (the “Petition”) be filed by the Company in the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)
commencing a case (the “Chapter 11 Case”) under the provisions of chapter 11 of the
Bankruptcy Code; and it is further

         RESOLVED, that, the Company is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and directed on behalf of the Company, to seek to have the Chapter
11 Case jointly administered by the Bankruptcy Court with the separate cases commenced by its
affiliated debtors, under Chapter 11 of the Bankruptcy Code (the respective Chapter 11 Case,
together with such other separate cases, the “Chapter 11 Cases”); and it is further

       RESOLVED, that the Authorized Officers (as defined below) of the Company, be, and
each of them, acting alone or in any combination, hereby is, authorized, directed, and
empowered, in the name of and on behalf of the Company, to execute, acknowledge, deliver, and
              Case 24-10692-CTG          Doc 1       Filed 04/02/24   Page 9 of 20




verify the Petition and to cause the same to be filed with the Bankruptcy Court at such time as
such Authorized Officer may determine; and it is further

        RESOLVED, that, the Company is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in
the name of the Company, to execute, verify and/or file, or cause to be filed and/or executed or
verified (or direct others to do so on their behalf as provided herein), and to amend, supplement
or otherwise modify from time to time, all necessary or appropriate documents, including,
without limitation, petitions, affidavits, schedules, motions, lists, applications, pleadings and
other documents, agreements and papers, including all credit documents, and to take any and all
actions that each Authorized Officer deems necessary or appropriate, each in connection with the
Chapter 11 Cases; and it is further

       RESOLVED, that, the Company is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, with full power of delegation, on behalf of and in
the name of the Company: (i) execute and deliver a Chapter 11 plan having terms substantially
consistent with those presented to the Board on or prior to the date hereof and as may be further
approved, modified or amended by any Authorized Officer, as may be reasonably necessary or
desirable for the continuing conduct of the affairs of the Company (the “Plan”), an associated
disclosure statement (the “Disclosure Statement”), and any associated documents, and
consummate, and perform under, the transactions contemplated therein as may be further
approved, modified or amended by any Authorized Officer, as may be reasonably necessary or
desirable for the continuing conduct of the affairs of the Company (the “Restructuring
Transactions”); and (ii) pay related fees and expenses as may be deemed necessary or desirable
by any Authorized Officer in connection with the Plan or Disclosure Statement and the
Restructuring Transactions; and it is further

       RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, from time to time in the name and
on behalf of the Company, as a debtor and debtor in possession under the Bankruptcy Code, to
perform the obligations of the Company under the Bankruptcy Code, with all such actions to be
performed in such manner, and all such certificates, instruments, guaranties, notices, and
documents to be executed and delivered in such form, as any Authorized Officer performing or
executing the same shall approve, and the performance or execution thereof by such Authorized
Officer shall be conclusive evidence of the approval thereof by such Authorized Officer and by
the Company; and it is further

        RESOLVED, that (i) any Authorized Officer shall be, and each of them, acting alone or
in any combination, hereby is, authorized and directed in the name of, and on behalf of the
Company, as a debtor and debtor in possession under the Bankruptcy Code, to take such actions
and execute, acknowledge, deliver and verify the Plan and Disclosure Statement, and such
agreements, certificates, notices and any and all other documents as any Authorized Officer may
deem necessary or appropriate in connection with the Plan, the Disclosure Statement and any
other related documents including any engagement letters, commitment letters, fee letters, credit
documents or other documents in connections with the incurrence of indebtedness contemplated
thereby (the “Restructuring Documents”) and the Restructuring Transactions; (ii) the
Restructuring Documents containing such provisions, terms, conditions, covenants, warranties


                                                 2
              Case 24-10692-CTG           Doc 1     Filed 04/02/24     Page 10 of 20




and representations as may be deemed necessary or desirable by any Authorized Officer are
hereby approved; (iii) any Authorized Officer shall be, and hereby is, authorized and directed in
the name of, and on behalf of the Company, as a debtor and debtor in possession, to authorize
counsel to draft, file and seek approval of the Restructuring Documents, including approval of
the Disclosure Statement and confirmation of the Plan; and (iv) the actions of any Authorized
Officer taken pursuant to this resolution, including the execution, acknowledgement, delivery
and verification of all agreements, certificates, instruments, guaranties, notices and other
documents, shall be conclusive evidence of such Authorized Officer’s approval thereof and the
necessity or desirability thereof; and it is further

        RESOLVED, that the Company is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, on behalf of and in the name of the Company, to
enter into such forbearance agreements, waivers, amendments or modifications, or other
supplements relating to the Company’s existing indebtedness as may be deemed necessary or
appropriate by such Authorized Officer.

Restructuring Support Agreement

        WHEREAS, the Board has reviewed and analyzed the materials presented by
management and the Advisors regarding the financial condition, capital structure, liquidity
position, business model and projections, short term and long-term prospects of the Company
and its subsidiaries and the restructuring and other strategic alternatives available to it, and the
impact of the foregoing on the Company’s business; and

        WHEREAS, the Board has reviewed and evaluated the proposed restructuring
transaction involving the Company and certain of its subsidiaries that provides for, among other
things, the execution of the Restructuring Support Agreement substantially in the form presented
to the Board (including the exhibits and schedules thereto, the “Restructuring Support
Agreement”); and

      WHEREAS, the Board has approved of the Restructuring Support Agreement and
recommended that the Company enter into the Restructuring Support Agreement; and

        WHEREAS, under the totality of the circumstances, the Board has determined that it is
desirable and in the best interests of the Company and its stakeholders generally that the
Company enter into the Restructuring Support Agreement, on the terms and conditions set forth
therein.

        NOW, THEREFORE, BE IT RESOLVED, that, under the totality of the circumstances
the Restructuring Support Agreement is in the best interests of the Company and the form, terms
and provisions of the Restructuring Support Agreement in substantially the form presented to the
Board, together with such further modifications or changes thereto as any of the Authorized
Officers of the Company (or any equivalent authorized person) deems necessary or advisable,
including the terms and conditions set forth therein and the transactions contemplated thereby,
be, and hereby are, approved, adopted, authorized and ratified by the Board in all respects; and it
is further




                                                   3
              Case 24-10692-CTG         Doc 1     Filed 04/02/24     Page 11 of 20




       RESOLVED, that, the Board hereby approves, adopts, authorizes and ratifies in all
respects the Restructuring Support Agreement; and it is further

        RESOLVED, that, the Company is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, on behalf of and in the name of the Company, to
the extent applicable, to enter into the Restructuring Support Agreement and to enter into any
agreements, documents, or instruments related thereto; and it is further

        RESOLVED, that the execution, delivery and performance of the Restructuring Support
Agreement and the consummation of the transactions contemplated thereby, on the terms set
forth in the Restructuring Support Agreement by the applicable parties, be, and hereby are,
approved, adopted, authorized and ratified in all respects; and it is further

        RESOLVED, that the Authorized Officers be, and each of them hereby is, authorized
and directed, in the name and on behalf of the Company, to execute and deliver and to cause the
Company to perform, as applicable, all the obligations and actions pursuant to and in furtherance
of the Restructuring Support Agreement and the consummation of the transactions contemplated
thereby.

Retention of Professionals

         RESOLVED, that the law firm of Cole Schotz P.C. (“Cole Schotz”) be, and hereby is,
authorized, directed, and empowered to represent the Company as restructuring and bankruptcy
counsel to represent and assist the Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance the Company’s rights, including the preparation
of pleadings and filings in the Chapter 11 Cases; and in connection therewith, the Authorized
Officers be, and each of them, acting alone or in any combination, hereby is, authorized,
directed, and empowered, on behalf of and in the name of the Company to execute appropriate
retention agreements, pay appropriate retainers prior to the filing of the Chapter 11 Cases, and to
cause to be filed an appropriate application for authority to retain the services of Cole Schotz;
and it is further

         RESOLVED, that SOLIC be, and hereby is, authorized, directed, and empowered to
represent the Company as investment banker and financial restructuring adviser to represent and
assist the Company in carrying out its duties under the Bankruptcy Code and to take any and all
actions to advance the Company’s rights and obligations in connection with the Chapter 11
Cases; and in connection therewith, the Authorized Officers be, and each of them, acting alone or
in any combination, hereby is, authorized, directed, and empowered, on behalf of and in the
name of the Company, to execute appropriate retention agreements, pay appropriate retainers, if
required, prior to the filing of the Chapter 11 Cases, and to cause to be filed an appropriate
application for authority to retain the services of SOLIC; and it is further

        RESOLVED, that Kroll Restructuring Administration LLC (“Kroll” and together with
Cole Schotz and SOLIC, collectively, the “Professionals”) be, and hereby is, authorized,
directed, and empowered to serve as the notice, claims, solicitation, balloting, and administrative
agent in connection with the Chapter 11 Cases; and in connection therewith, the Authorized
Officers be, and each of them, acting alone or in any combination, hereby is, authorized,



                                                 4
              Case 24-10692-CTG          Doc 1     Filed 04/02/24     Page 12 of 20




directed, and empowered, on behalf of and in the name of the Company to execute appropriate
retention agreements, pay appropriate retainers, if required, prior to the filing of the Chapter 11
Cases, and to cause to be filed an appropriate application for authority to retain the services of
Kroll; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the
Company to employ any other individual and/or firm as professionals, consultants, financial
advisors, or investment bankers to the Company as are deemed necessary to represent and assist
the Company in carrying out its duties under the Bankruptcy Code and achieving a successful
reorganization, and in connection therewith, the Authorized Officers be, and each of them, acting
alone or in any combination, hereby is, authorized, directed, and empowered, on behalf of and in
the name of the Company to execute appropriate retention agreements, pay appropriate retainers
prior to the filing of the Chapter 11 Cases, and to cause to be filed an appropriate application for
authority to retain the services of such firms.

Post-Petition Financing/ “DIP’ Financing Term Sheet

        WHEREAS, the Company, as debtor and debtor in possession under the Chapter 11
Case, intends to obtain senior secured, superpriority, postpetition financing and the use of cash
collateral (the “DIP Financing”) on the terms and conditions of the proposed debtor-in-
possession financing term sheet, substantially in the form presented to the Board on or prior to
the date hereof and as may be further approved, modified or amended by any Authorized Officer
(together with any ancillary documents, the “DIP Facility Term Sheet”) between the Company
as borrower, the DIP Lenders (as identified on the DIP Facility Term Sheet, (the “DIP
Lenders”)) and Cantor Fitzgerald Securities, in its capacity as Administrative Agent (the “DIP
Agent”), and other such other agents and entities from time to time party thereto, and to grant to
the DIP Agent and for the benefit of the DIP Lenders security interests in and liens with priority
under section 364(c) of the Bankruptcy Code upon some, any, or all of the Company’s assets;
and

        WHEREAS, the Company will obtain benefits from the incurrence of the loans, issuance
of any letters of credit and guaranties, and any and all related transactions contemplated under a
DIP financing agreement consistent with the terms set forth in the DIP Facility Term Sheet
(collectively, the “DIP Financing Transactions”), which are necessary and appropriate to the
conduct, promotion and attainment of the business of the Company; and it is further

        RESOLVED, that the Company is authorized to obtain DIP Financing and to grant to the
DIP Agent and for the benefit of the DIP Lenders security interests in and liens with priority
under section 364(c) of the Bankruptcy Code upon some, any, or all of the Company’s assets on
terms and conditions set forth in the DIP Facility Term Sheet, with such changes, additions, and
modifications thereto as an Authorized Officer executing the same shall approve, such approval
to be conclusively evidenced by a Authorized Officer’s execution and delivery thereof; and it is
further

      RESOLVED, that the Authorized Officers be, and each of them, acting alone or in any
combination, hereby is, authorized, directed, and empowered, on behalf of and in the name of the


                                                  5
              Case 24-10692-CTG           Doc 1    Filed 04/02/24      Page 13 of 20




Company, to secure the payment and performance of any post-petition financing by
(i)(a) pledging or granting liens or mortgages on, or security interests in, all or any portion of the
Company’s assets, whether now owned or hereafter acquired, and (b) causing any subsidiary of
the Company, if any, to pledge or grant liens or mortgages on, or security interests in, all or any
portion of such subsidiary’s assets, whether now owned or hereafter acquired, and (ii) entering
into or causing to be entered into, including, without limitation, causing any subsidiaries of the
Company to enter into, such credit agreements, guarantees, other debt instruments, security
agreements, pledge agreements, control agreements, inter-creditor agreements, mortgages, deeds
of trust, and other agreements as are necessary, appropriate, or desirable to effectuate the intent
of, or matters reasonably contemplated or implied by, this resolution in such form, covering such
collateral and having such other terms and conditions as are approved or deemed necessary,
appropriate, or desirable by the Authorized Officer executing the same, the execution thereof by
such Authorized Officer to be conclusive evidence of such approval or determination; and it is
further

        RESOLVED, that, the Company is hereby authorized, and each Authorized Officer shall
be, and hereby is, authorized and empowered, on behalf of and in the name of the Company, to
the extent applicable, to obtain the use of cash collateral, in such amounts and on such terms as
may be agreed by any Authorized Officer, including the grant of replacement liens, as is
reasonably necessary for the continuing affairs of the Company.

General Resolutions

        RESOLVED, that the Board hereby adopts any resolution required under the applicable
securities laws of any jurisdiction to be adopted in connection with any of the transactions
contemplated hereby, if (i) in the opinion of any Authorized Officer, the adoption of such
resolution is necessary or advisable, and (ii) the corporate secretary of the Company evidences
such adoption by inserting into the minute book of the Company a copy of such resolution,
which will thereupon be deemed to have been adopted by the Board with the same force and
effect as if specifically presented to a duly called meeting of the Board; and it is further

         RESOLVED, that, to the extent that the Company serves as the sole member, managing
member, general partner, partner or other governing body (collectively, a “Controlling
Company”), in each case, of any other company (a “Controlled Company”), each Authorized
Officer of the Company, who may act without the joinder of any other Authorized Officer, be,
and hereby is, authorized, empowered and directed in the name and on behalf of such
Controlling Company (acting for such Controlled Company in the capacity set forth above, as
applicable), to (i) authorize such Controlled Company to take any action that the Company is
authorized to take hereunder and/or (ii) take any action on behalf of such Controlled Company
that an Authorized Officer is herein authorized to take on behalf of such Controlling Company;
and it is further

       RESOLVED, that the Chief Executive Officer, Interim Chief Financial Officer and
Chief Legal Officer (the “Authorized Officers”) are hereby each severally authorized in the
name of and on behalf of the Company to perform any and all acts as may be necessary or
desirable to execute, file and deliver all instruments and other documents contemplated by the
foregoing resolutions and to take any and all further action that such person or persons may deem


                                                  6
              Case 24-10692-CTG         Doc 1    Filed 04/02/24     Page 14 of 20




necessary or desirable to effectuate any action authorized by these resolutions and otherwise to
carry out the purposes and intentions of the foregoing resolutions; and the execution by any such
person or persons of any such documents or the performance by any such person or persons of
any such act in connection with the foregoing matters shall conclusively establish his or her
authority therefor from the Company and the approval and ratification by the Company of the
documents so executed and the actions so taken; and it is further

        RESOLVED, that the Board hereby approves of the transactions discussed herein and all
related documents, instruments and agreements relating to such transactions on behalf of the
Company and hereby authorizes the Company to approve the transactions, and hereby authorizes
the Company to enter into and perform each of their respective obligations in connection with
the transactions and all related agreements, documents, instruments and certificates contemplated
thereby; and it is further

        RESOLVED, that any and all actions heretofore taken by any Authorized Officer or any
of the Professionals in connection with the Chapter 11 Cases or any proceedings or matters
related thereto or contemplated by the foregoing resolutions (including, without limitation, the
Restructuring Transactions and the DIP Financing Transactions) are hereby ratified, approved,
confirmed and accepted in all respects.




                                                7
              Case 24-10692-CTG         Doc 1      Filed 04/02/24    Page 15 of 20




                        AUTHORIZED OFFICER’S CERTIFICATE

        This Authorized Officer’s Certificate (this “Certificate”) is furnished in connection with
that certain chapter 11 petition to be filed on April 1, 2024 (as amended, modified or
supplemented from time to time, the “Petition”) by View, Inc., a Delaware corporation (the
“Company”).

        The undersigned, being an Authorized Officer of the Company, hereby certifies, solely in
his capacity as such and not in his individual capacity and without personal liability, that
attached hereto is a true, correct and complete copy of the resolutions adopted by the Board of
Directors of the Company at a scheduled meeting on March 15, 2024, in accordance with the
bylaws of the Company and the requirements of applicable law, and such resolutions have not
been modified, rescinded or amended and are in full force and effect as of the date of this
Certificate.

        IN WITNESS WHEREOF, the undersigned has executed this certificate on the 1st day of
April, 2024.

                                             By:     /s/ William T. Krause
                                                     Name: William T. Krause
                                                     Title: Secretary




                                                8
                                           Case 24-10692-CTG                                       Doc 1           Filed 04/02/24                           Page 16 of 20

Fill in this information to identify the case:
  Debtor name: View, Inc., et al.                                                                                                                                                      □ Check if this is an amended filing
  United States Bankruptcy Court for the: District of Delaware
  Case number (if known): ________________

Official Form 204
Chapter 11 or 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (on a Consolidated Basis)                                                                                                 12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined
in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.


Name of creditor and complete mailing address,       Name, telephone number, and email address of Nature of the claim(for            Indicate if claim is     Amount of unsecured claim
including zip code                                   creditor contact                             example, trade debts, bank         contingent,              If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                  loans, professional services,      unliquidated, or         claim is partially secured, fill in total claim amount and deduction for
                                                                                                  and government contracts)          disputed                 value of collateral or setoff to calculate unsecured claim.


                                                                                                                                                              Total claim, if partially Deduction for value of
                                                                                                                                                              secured                   collateral or setoff   Unsecured Claim
      Wilmington Trust, National Association as
                                                     Wilmington Trust, National Association as
      trustee
                                                     trustee
      Attn: Doris Meister, CEO, Robert C. Fiedler,
                                                     Attn: Doris Meister, CEO, Robert C. Fiedler, Vice
1     Vice President and Counsel                                                                       Unsecured Notes                                                                                               $222,258,316.00
                                                     President and Counsel
      1100 N. Market Street
                                                     PHONE: 302‐651‐1000
      Wilmington, DE 19890
                                                     EMAIL: dmeister@wilmingtontrust.com


      Momentum Glass
                                                     Momentum Glass
      Attn: Omar Maalouf, Chief Executive Officer
                                                     Attn: Omar Maalouf, Chief Executive Officer
2     25825 Aldine Westfield                                                                         Trade Claim                                                                                                        $2,513,529.95
                                                     PHONE: 281‐809‐2830
      Spring, TX 77373
                                                     EMAIL: billing@momentum‐glass.com



      DeSoto County Tax Collector                    DeSoto County Tax Collector
      Attn: Joey Treadway, Tax Collector             Attn: Joey Treadway, Tax Collector
3     365 Losher St, #110                            PHONE: 662‐469‐8030                             Tax (Property Tax)              Disputed                                                                           $2,284,487.13
      Hernando, MS 38632                             EMAIL: lriley@desotocountyms.gov;
                                                     joeytreadway@desotocountyms.gov



      Jefferson Fields, LLC
                                                     Jefferson Fields, LLC
      Attn: Roger Fields, Manager
                                                     Attn: Roger Fields, Manager
4     2390 El Camino Real, #210                                                                      Landlord                       Disputed                                                                            $2,251,900.83
                                                     PHONE: 650‐327‐2014
      Palo Alto, CA 94306
                                                     EMAIL: rfields@peninsulaland.com



      Cherry Hill Glass Co., Inc.
                                                     Cherry Hill Glass Co., Inc.
      Attn: Kevin O'Neill, President
                                                     Attn: Kevin O'Neill, President
5     20 Elm Street                                                                                  Trade Claim                                                                                                        $1,914,776.35
                                                     PHONE: 203‐483‐1717
      Branford, CT 06405
                                                     EMAIL: jwetmore@cherryhillglass.com



      Salesforce.com inc
                                                     Salesforce.com inc
      Attn: Marc Benioff, Chief Executive Officer
                                                     Attn: Marc Benioff, Chief Executive Officer
6     415 Mission Street                                                                             Trade Claim                                                                                                        $1,138,952.68
                                                     PHONE: 800‐664‐9073
      San Francisco, CA 94105
                                                     EMAIL: pfairclough@salesforce.com



      Alumaline Inc.
                                                     Alumaline Inc.
      Attn: John Lombardi, Project Executive
                                                     Attn: John Lombardi, Project Executive
7     25‐37 Francis Lewis Blvd                                                                       Trade Claim                                                                                                        $1,075,109.60
                                                     PHONE: 718‐747‐2150
      Flushing, NY 11358
                                                     EMAIL: jlombardi@alumalineinc.com



      View the Space, Inc.
                                                     View the Space, Inc.
      Attn: Nick Romito, Chief Executive Officer
                                                     Attn: Nick Romito, Chief Executive Officer
8     1095 Avenue of the Americas, 14th Floor                                                        Trade Claim                                                                                                          $961,135.10
                                                     PHONE: 844‐800‐7109
      Boston, MA 2284‐4875
                                                     EMAIL: billing@vts.com



      Mohawk Glass
                                                     Mohawk Glass
      Attn: Richard Ochoa III, Owner
                                                     Attn: Richard Ochoa III, Owner
9     13691 Preciado Avenue                                                                          Trade Claim                                                                                                          $796,846.50
                                                     PHONE: 562‐236‐7359
      Chino, CA 91710
                                                     EMAIL: richie@mohawkglasscompany.com



      Harmon, Inc.                                   Harmon, Inc.
      Attn: Troy Johnson, President                  Attn: Troy Johnson, President
10    7900 Xerxes Avenue South, Suite 1800           PHONE: 952‐944‐5766                             Trade Claim                                                                                                          $665,608.00
      Bloomington, MN 55431                          EMAIL: tjohnson@harmoninc.com;
                                                     mteixeira@harmoninc.com
Debtor: View, Inc.
                                              Case 24-10692-CTG                                    Doc 1             Filed 04/02/24                            Page 17 of 20                               Case number (if known) __________

  Name of creditor and complete mailing address,      Name, telephone number, and email address of Nature of the claim(for              Indicate if claim is       Amount of unsecured claim
  including zip code                                  creditor contact                             example, trade debts, bank           contingent,                If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                   loans, professional services,        unliquidated, or           claim is partially secured, fill in total claim amount and deduction for
                                                                                                   and government contracts)            disputed                   value of collateral or setoff to calculate unsecured claim.


                                                                                                                                                                   Total claim, if partially Deduction for value of
                                                                                                                                                                   secured                   collateral or setoff   Unsecured Claim

         Weaver Austin Villeneuve & Sampson LLP.      Weaver Austin Villeneuve & Sampson LLP.
         Attn: Roger S. Sampson, Partner              Attn: Roger S. Sampson, Partner
  11     555 12th Street, Ste 1700                    PHONE: 510‐663‐1100                              Professional Services                                                                                                   $637,260.29
         Oakland, CA 94607                            EMAIL: rmiller@wavsip.com;
                                                      RSampson@wavsip.com



         ility.com, Inc.
                                                      ility.com, Inc.
         Attn: Marcus Moufarrige, Founder and CEO
                                                      Attn: Marcus Moufarrige, Founder and CEO
  12     One World Trade Center, Suite 8500                                                            Trade Claim                      Disputed                                                                               $623,542.00
                                                      PHONE: 212‐220‐8782
         New York, NY 10007
                                                      EMAIL: ns@ility.com; mmoufarrig@ility.com



         Morrison & Foerster LLP
                                                      Morrison & Foerster LLP
         Attn: Caitlin Sinclaire Blythe, Managing
                                                      Attn: Caitlin Sinclaire Blythe, Managing Partner
         Partner
  13                                                  PHONE: 415‐268‐7000                              Professional Services            Disputed                                                                               $573,897.14
         425 Market Street
                                                      EMAIL: AVickery@mofo.com;
         Los Angeles, CA 90074‐2335
                                                      cblythe@mofo.com



         Azurelite Inc.
                                                      Azurelite Inc.
         Attn: James Hennessey, Project Manager
                                                      Attn: James Hennessey, Project Manager
  14     2301 E. Gladwick Street                                                                       Trade Claim                                                                                                             $538,074.11
                                                      PHONE: 562‐251‐1440
         Compton, CA 90220
                                                      EMAIL: jmhennessey@azureliteinc.com



         Pioneer Window Mfg. Corp.
                                                      Pioneer Window Mfg. Corp.
         Attn: Vincent Amato, CEO
                                                      Attn: Vincent Amato, CEO
  15     6 Old Country Road, Suite 412                                                                 Trade Claim                                                                                                             $512,525.00
                                                      PHONE: 516‐822‐7000
         Garden City, NY 11530
                                                      EMAIL: nick@pioneerwindows.com



         Quanex IG Systems, Inc
                                                      Quanex IG Systems, Inc
         Attn: George Wilson, President and CEO
                                                      Attn: George Wilson, President and CEO
  16     388 South Main Street, Suite 700                                                              Trade Claim                                                                                                             $492,064.25
                                                      PHONE: 219‐910‐1500
         Atlanta, GA 3353‐5445
                                                      EMAIL: tina.bailey@quanex.com



         Volex Inc
                                                      Volex Inc
         Attn: John Molloy, Chief Operating Officer
                                                      Attn: John Molloy, Chief Operating Officer
  17     511 E San Ysidro Blvd, #509                                                                   Trade Claim                                                                                                             $411,423.48
                                                      PHONE:
         San Ysidro, CA 92173
                                                      EMAIL: Valery.Balderas@volex.com



         NALI Portfolio, LLC
                                                      NALI Portfolio, LLC
         Attn: President or General Counsel
                                                      Attn: President or General Counsel
  18     54 W Madison, 4th Floor                                                                       Landlord                                                                                                                $350,769.02
                                                      PHONE:
         Chicago, IL 60602
                                                      EMAIL: Shondra.Ector@jll.com



         IES Communications LLC
                                                      IES Communications LLC
         Attn: Matt Simmes, President
                                                      Attn: Matt Simmes, President
  19     2801 S Fair Ln                                                                                Trade Claim                                                                                                             $312,231.08
                                                      PHONE: 480‐379‐6200
         Tempe, AZ 85282
                                                      EMAIL: chris.rossini@iescomm.com



         TOTAL BUILDER'S SERVICES LLC
                                                      TOTAL BUILDER'S SERVICES LLC
         Attn: Daniel Franco, President
                                                      Attn: Daniel Franco, President
  20     9001 Wildflower Ln                                                                            Trade Claim                                                                                                             $298,733.00
                                                      PHONE:
         Kissimmee, FL 34747
                                                      EMAIL: totalbuilderservices@gmail.com



         Centerline Communication LLC
                                                      Centerline Communication LLC
         Attn: Josh Delman, CEO
                                                      Attn: Josh Delman, CEO
  21     75 W. Center St. Suite 31                                                                     Trade Claim                                                                                                             $287,839.00
                                                      PHONE:
         West Bridgewater, MA 02379
                                                      EMAIL: billing@clinellc.com


         SINBON Electronics Co., LTD Taipei
                                                      SINBON Electronics Co., LTD Taipei
         Attn: Mr. Shao‐Hsin Wang, Chairman &Chief
                                                      Attn: Mr. Shao‐Hsin Wang, Chairman &Chief
         Executive Officer
  22                                                  Executive Officer                                Trade Claim                                                                                                             $262,377.04
         No. 889, Zhonghua Rd.
                                                      PHONE: +886‐2‐26989999
         Miaoli City, Miaoli, 360
                                                      EMAIL: Viewpos@sinbontech.com
         Taiwan




Official Form 204                                                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unecured Claims                                                                        Page 2
Debtor: View, Inc.
                                               Case 24-10692-CTG                                    Doc 1             Filed 04/02/24                            Page 18 of 20                               Case number (if known) __________

  Name of creditor and complete mailing address,       Name, telephone number, and email address of Nature of the claim(for              Indicate if claim is       Amount of unsecured claim
  including zip code                                   creditor contact                             example, trade debts, bank           contingent,                If the claim is fully unsecured, fill in only unsecured claim amount. If
                                                                                                    loans, professional services,        unliquidated, or           claim is partially secured, fill in total claim amount and deduction for
                                                                                                    and government contracts)            disputed                   value of collateral or setoff to calculate unsecured claim.


                                                                                                                                                                    Total claim, if partially Deduction for value of
                                                                                                                                                                    secured                   collateral or setoff   Unsecured Claim

         RONTEC FACADE MANUFACTURING SDN. BHD
                                                   RONTEC FACADE MANUFACTURING SDN. BHD
         Attn: President or General Counsel
                                                   Attn: President or General Counsel
  23     17, Jalan Silc 2/7 KWS Perindustrian Silc                                                      Trade Claim                                                                                                             $206,121.16
                                                   PHONE:
         Iskandar Putri, Johor 79100
                                                   EMAIL: rtc.ranga@rontecfm.com
         Malaysia



         Mid‐South Facility Services LLC
                                                       Mid‐South Facility Services LLC
         Attn: Otis Hafford, Owner
                                                       Attn: Otis Hafford, Owner
  24     13447 Fairview Rd                                                                              Trade Claim                                                                                                             $190,494.57
                                                       PHONE:
         Byhalia, MS 38611
                                                       EMAIL: anthony@mid‐southfs.com



         SHI International Corp.
                                                       SHI International Corp.
         Attn: President or General Counsel
                                                       Attn: President or General Counsel
  25     290 Davidson Avenue                                                                            Trade Claim                                                                                                             $181,123.41
                                                       PHONE: 888‐764‐8888
         Dallas, TX 75395‐2121
                                                       EMAIL: preston_trout@shi.com



         TBP Converting
                                                       TBP Converting
         Attn: Peter Reardon, President
                                                       Attn: Peter Reardon, President
  26     4 Thoms Drive, Suite 411                                                                       Trade Claim                                                                                                             $154,536.48
                                                       PHONE: 800‐850‐3338
         Phoenixville, PA 19460
                                                       EMAIL: accounting@tbphilly.com



         IT Outlet Inc.
                                                       IT Outlet Inc.
         Attn: Kevin Huber, Chief Executive Officer
                                                       Attn: Kevin Huber, Chief Executive Officer
  27     701 E 52ND ST.                                                                                 Trade Claim                                                                                                             $143,040.00
                                                       PHONE: 605‐275‐4193
         Sioux Falls, SD 57104
                                                       EMAIL: april@itoutlet.com



         Primeline Windows and Doors Inc.
                                                       Primeline Windows and Doors Inc.
         Attn: Joe Iaccino, President
                                                       Attn: Joe Iaccino, President
  28     237 Queen's plate Drive                                                                        Trade Claim                                                                                                             $141,392.87
                                                       PHONE: 416‐739‐8500
         Toronto, ON M9W 6Z7
                                                       EMAIL: tina@primelinewindows.com
         Canada



         Cargo Tours International Inc.
                                                       Cargo Tours International Inc.
         Attn: Joe Delli Carpini, President
                                                       Attn: Joe Delli Carpini, President
  29     167‐10 S. Conduit Avenue, Suite 106                                                            Trade Claim                                                                                                             $122,861.34
                                                       PHONE: 718‐723‐2000
         Jamaica, NY 11434
                                                       EMAIL: MSandolo@cargotours.com



         Glassworks Unlimited
                                                       Glassworks Unlimited
         Attn: Tim Gerwatosky, Chief Executive Officer
                                                       Attn: Tim Gerwatosky, Chief Executive Officer
  30     1122 CR 2241                                                                                   Trade Claim                                                                                                             $120,211.00
                                                       PHONE:
         Greenville, TX 75402
                                                       EMAIL: barbara@millerglassworks.com




Official Form 204                                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unecured Claims                                                                        Page 3
                Case 24-10692-CTG              Doc 1      Filed 04/02/24        Page 19 of 20




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    VIEW, INC., et al.,                                     Case No. 24-[●] (●)

                             Debtors.1                      (Joint Administration Requested)


                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

                 Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, as of April 1, 2024:

         1.      The following entity owns ten percent (10%) or more of the equity interests of

View, Inc.’s (“View”);

                                  Name                               Shares (%)

                       SVF Excalibur (Cayman)                           27.4%
                              Limited

         2.      View owns 100% of the equity interest in View Operating Corporation (“VOC”);

and

         3.      VOC owns 100% of the equity interest in Iotium, Inc.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: View, Inc. (5065), View Operating Corporation (4899), and Iotium, Inc. (4600). The Debtors’ corporate
headquarters is 6280 America Center Drive, Suite 200, San Jose, CA 95002.
                                Case 24-10692-CTG                 Doc 1            Filed 04/02/24       Page 20 of 20




Fill in this information to identify the case:

Debtor name         View Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration     Chapter 11 Case: List of Creditors Who Have the 30 Largest Unsecured
                                                                Claims and Are Not Insiders; Consolidated Corporate Ownership
                                                                Statement

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 2, 2024                   X /s/ William T. Krause
                                                           Signature of individual signing on behalf of debtor

                                                            William T. Krause
                                                            Printed name

                                                            Chief Legal Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
